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AO243(Rev.09/17)                                                                                                                    FILED By P G                                         D.c,

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                                                                                                                                                           t D-SSMl
                                                                                                                                                                 I&C'
                                                                                                                                                                    j
                      M OTION UNDER 28U.S.C.j2255TO VACATE,SET ASIDE,OR CORRECT
                                   SEN TENCE BY A PERSON IN FED ERA L CUSTODY
United StatesDistrictCourt                                            District                '/                            m igm ;                .            lp/ppy.
Nam e(underw/l/c:youwercconvicted):                                                                                                     DocketorCase No.:
                  öppl E           :8
Place ofConfinem ent:                                                                                 PrisonerNo.:
           / atr J '                    /ê'               -l    olr                     ; '                      0F67D- Z#?
UNITED STATES OF AM ERJCA                                                                          M ovant(includenameunderw/l/c:convi
                                                                                                                                     cted)
                                                                                                    9J&.r&; JC&58

                                                                   M OTION

           (a)Nameand location ofcourtwhichenteredthejudgmentofconvictionyouarechallenging:                                                                           . . -.-. .        .. .       .


       -    lànilKn s:z4rs t ,'s'4czd4 M- a.
                                   .      .    l... <,z.-4-b.F- >      a --ouo tt4-'
                                                                                   .c#--Jf---- -                                                                              -    -


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                             'Ialwo lcz-.             -          --- -              -- -                   -.                  - ..-             .- - ---       -- - -.-- - - -         -. . .      -




           (a)Dateofthejudgmentofconviction(ifyouknow): psrse/yr, .?q. gpzl   . .                                                           .

           (b)Dateofsentencing: o.tg ce x --l.
                                   -.        9,..u J..
                                                     +-                  --         -    -    . -. -. ..- -      -- . .. . . .- -       .              .    -




        Lenglhofsentence:          $bo - ec-
                                           & 1=.  .                                          - -.          ..-              - - -   -       .-              . - ... ...   -        ..    .       ... ..



        Natureofcrime(allcounts): c% O-K- O---IJ/1ggn pci---e g#sAy'(-tE..-t.
                                          . .....                           4.s.-tr..--lçjs4-tçl3-.- .- -               .


       -mto-é---G           össF4:;na af' z. ç. xqerrq.vn-.+,1 f(4e ke-a mza --d-#.-G--.- - --....
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                                  I1- M z-.D -:-%.  & )1ût,).(J!'l
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        (a)W hatwasyourplea? (Checkone)
                 (l)Notguilty EX                               (2) Guilty I
                                                                          D                                      (3)Nolocontendere(nocontest)
       (b)lfyouenteredaguiltypleato onecountorindictment,andanotguiltypleatoanothercountorindictment,
       whatdidyou plead guilty to and whatdid you plead notguilty to?
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        lfyouwenttotrial,whatkindoftrialdidyouhave? (Check one)                                                                JuryA                        Judgeonly(L1
        Did you testify ata pretrialhearing,trial,orpost-trialhearing?                                              Yes E:)                                 No E
                                                                                                                                                               G

   8. Didyouappealfrom thejudgmentofconviction?                                         Yes(
                                                                                           Z                                       No EZI
           lfyou did appeal,answerthe following:
           (a)Nameofcoul'
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                                                                                                                                                4..-                                   -   - -


           (b)Docketorcasenumber(ifyouknow):
           (c) Result: A FLA tna .....-.. -
                           .                                     . -     . -       -   - .   -. -    .. .


           (d) Dateofresult(ifyouknowl: o.(a-.--x.
                                                 s..-a.
                                                      c).
                                                        q.---
                                                            ..                                       -     - .- .- - -   -   - . .- -- .   . . .- -   ..-       .. .-   - -   .   ..


           (e)Citationtothecase(ifyou knowl: g #j. F-JJ lp-..
                                                            7-
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                                                                e.
                                                                 - 19 i4.v p-er y-l-erw ziy.oa-.      g-.-.                                                             .


           (9 Groundsraised:      xow x j--rnut?: v mj.#c> m a, o.:-s-m -s e' u-f>-rIla- s.msa -.--x.lsh4s toy
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                 o.h - - /cb2-G>'N % n-.   -     6xm.> ;a,.km- .
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                                                                                                                                                        X                     xo En




               (3)Dateofresult(ifyouknow):




        Otherthanthedirectappealslistedabove,haveyou previously filed any othermotions,petitions,orapplicatiolns,
       concerningthisjudgmentofconviction in anycourt?
           Yes EZ              No EX

  ll. lfvouranswertoQuestion l0wasç(Yes,''givethefollowing information'
                                                                      .                                                                                                 - .
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            (4) Natureoftheproceeding:                        /4
                     Groundsraised:                     w/g




            (6) Didyou receiveahearingwhereevidencewasgiven onyourmotion,petition,orapplication?
                       Yes (Z         No
                     Result:      xj,a
           (8) Dateofresult(ifyouknowl:
       (b) Ifyoufiledany secondmotion,petition,or pplication,givethesameinformation:
                 Nnmeofcourt:                  x/jp
            (2) Docketofcasenumber(ifyouknow):
            (3) Dateoffiling(ifyouknow):                   yjy ..
            (4)Natureoftheproceedi
                                 ng:                    yjp ..... ....................
            (5) Groundsraised:                   .-
                                                      x.
                                                       /s...-.-...-.....-.
                                                                         --...........- ............ ...




           (6) Didyoureceiveahearingwhereevidencewasgivenonyourmotion,petition,orapplication?
                       Yes E1     N o Er -
           (7) Result:                       x
                                             ,/s
           (8) Dateofresult(ifyouknowl:                 p/a
       (c) Didyouappealtoafederalappellatecourthavingjurisdictionovertheactiontakenonyourmotion,petition,
       orapplication?
                 Firstpetition:            Yes EEI        No
           (2) Secondpetition:             YesEEI         No EY-
         Case 1:20-cv-24937-AMC Document 1 Entered on FLSD Docket 12/02/2020 Page 4 of 31
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         (d) lfyoudidnotappealfrom theactiononanymotion,petition,orapplication,explain brieflywhyyoudidnot:
                                                                             &/,4. -                                                          - ----

 12. Forthismotion,state every ground on which you claim thatyou are being held in violation ofthe Constitution,
     laws,ortreatiesofthe United States. Atlach additionalpagesifyou have morethan fourgrounds. Statethe facts
     supporting each ground.Any legalargum entsm ustbesubmitted in a separatem emorandum .

GROUND ONE: & ajgsxo                                     -   4 gu; n,# bsvs--l-ugs
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         (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsupportyourclaim.):
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         (b)DirectAppealofGround One:
                       (1) Ifyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
                                       YesEZ          No E
                                                         W
                       (2) lfyoudidnotraisethisissueinyourdirectappeal,explain why:
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                                     eql--.:ltf)gncy-..fm lrJ- .
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                                                               .
         (c) Post-convictionProceedings:
                                    Did you raise thisissue in any post-conviction m otion,petition,orapplicationg.
                                       Yes EZ        No
                       (2) lfyouanswertoQuestion(c)(1)ist(Yes,''state'
                                                                     .
                       Typeofmotionorpetition:             g
                       N ame and location ofthecourtwherethe motion orpetition wasfiled:


                       Docketorcasenumber(ifyouknow):                               p /u
                       Dateofthe court'sdecision:
                       Result(attachacopyofthecourt'sopinionororder,ifavailable):                                          jj/a
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                  (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                                Yes I
                                    Z1             No
                  (5) lfyouranswerto Question(c)(4)is1<Yes,''didyouraisetheissueintheappeal?
                                Y es EZ)           No


                  (6) lfyouranswertoQuestion(c)(4)isç(Yes,''state:
                  Nameandlocationofthecourtwheretheappealwasfiled: g)g.
                  Docketorcasenumber(ifyouknowl:
                  Dateofthecourt'sdecision:                     jjJw
                  Result(attachacopyofthecourt'sopinionororder,ifavailable): #)A


                  (7) lfyouranswertoQuestion(c)(4)orQuestion(c)(5)ist:No,''explainwhyyou didnotappealorraise
                  issue: yezut xj-txjngv J>,
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       (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsupportyourclam.):
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        Case 1:20-cv-24937-AMC Document 1 Entered on FLSD Docket 12/02/2020 Page 6 of 31
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                     lfyou appealedfrom thejudpnentofconviction,didyou raisethisissue?
                       Yes




            (2) Ifyoudidnotraisethisissueinyourdirectappeal,explain why:



        (c) Post-conviction Proceedings:
            (1) Didyouraisethisissueinany post-convictionmotion,petition,orapplication?
                        Yes (Z)      No
             (2) Ifyouanswerto Question(c)(1)is1(Yes,''state:
             Type ofmotion orpetition:      -   - -   .   g .--     . - ----           -- - -.---       -
             Nameandlocationofthecourtwherethemotionorpetitionwasfiled: y




                     Did you appealfrom the denialofyourm otion,petition,orapplication?
                        Yes (Zl      No
                     lfyouranswertoQuestion (c)(4)isû(Yes,'7didyou raisetheissueintheappeal?
                        Yes EZI      No
             (6) lfyouranswertoQuestion (c)(4)is(CYes,''state:
             N ame and location ofthe courtwherethe appealwasGled:


             Docketorcasenumber(ifyouknow):                   p)g
             Dateofthecourt'sdecision:          &                              -   -      - -   .-   - . -   .


             Result(attach acopy ofthecourt'sopinionororder,ifavailable):




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                   .
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        (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsuppol
                                                                                  -tyourclaim .):
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        (b) DirectAppealofGround Three:
                lfyou appealed from thejudgmentofconviction,didyouraisethisissue?
                       Yes CJ        No
                    lfyou did notraisethisissue in yourdirectappeal,explain w hy:

              plAsaçv Jw,
                       '.1rJ---ka--bons ue fuacs-                                          --         --- -
        (c) Post-conviction Proceedings:
                    Did you raisethis issue in any post-conviction motion,petition,orapplication?
                       Yes IE1       No
            (2) lfyouanswertoQuestion(c)(1)ist$Yes,''state:
            Typeofmotionorpeti
                             tion:                  N(p.
            N ame and location ofthe courtwhere the motion orpetition wasfiled:
                                                                                                     .-.......

            Docketorcasenumber(ifyouknow): ylp
            Dateofthecourt'sdecision:                  p ya
            Result(attachacopyofthecouM'sopinionororder,ifavailable): yjp

            (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                       Yes I
                           Zl        No
                    Did you appealfrom the denialof.yourm otion,petition,orapplication?




                                                                                                                  r r.
                                                                                                                  ,
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                          Yes EEl       No
              (5) lfyouranswerto Question(c)(4)ist(Yes,''didyouraisetheissueintheappeal?
                          Y es EZI      No


              (6) lfyouranswertoQuestion(c)(4)isû<Yes,''state:
              N am eand location ofthe courtwhere theappealwasfiled:


              Docketorcasenumber(ifyouknow):               pg
              Dateofthecoud'sdecision:                  u/g.
              Result(attachacopyofthecourt'sopinion ororder,ifavailable):




              issue:
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       (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsupportyourclaim.):
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       (b)DirectAppealofGround Four:
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                                                teswsclplcbo :cdoo ./.x.
                                                                      '(
                                                                       ?J
              lfyouappealed from thejudgmentofconviction,didyouraisethisissue?
                     Y es Z1       No
                  lfyou did notraise thisissue in yourdirectappeal,explain why:

                     ip l p-t-
                             toynrv V ;
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            (1) Didyoul-aisethisissuein anypost-convictionmotion,petition,orapplication?
                      Yes (Z5         No

            (2) lfyouanswerto Question(c)(1)is1çYes,''state:
            Typeofmotionorpetition:                 s/p
            Name and location ofthe courtwherethe motion orpetition wasfiled:

                                                   hlV -- - --------- -- -- ----- ---
            Docketorcasenumber(ifyouknow): yjp                                          ....- -.--.
                                                                                                  --.. .
            Dateofthecourt'sdecision:                  #          --                        -- - -- -
             Result(attachacopyofthecourt'sopinionororder,ifavailable):         kj/<

             (3) Did youreceiveahearingonyourmotion,petition,orapplication?
                      Yes (Zl       No
                    Did you appealfrom the denialofyourmotion,petition,orapplication?

                       Yes EZI        No
                    lfyouranswertoQuestion(c)(4)ist(Yes,''didyouraisetheissueintheappeal?
                       Y es L         No
             (6) lfyouranswertoQuestion(c)(4)isç(Yes,''state:
             Nam eand location ofthe courtwherethe appealwasfiled:



              Date ofthecourt'sdeeision:




              (7) lfyouranswertoQuestion (c)(4)orQuestion (c)(5)isçiNo,''explainwhyyoudidnotappealorraise
              issue:             (a   . .. -   f.#.
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          lsthere any ground in thismotion thatyou have notpreviously presented in some federalcourt? lfso,which
          ground orgroundshavenotbeen presented,and state yourreasonsfornotpresenting them :

                                                      9/p

                                                                                                           Page 1O of' 14
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       Doyouhaveanymotion,petition,orappealnow pendinc(Gled andnotdecidedyet)in anycoul'
                                                                                       tforthe
       youarechallenging?           YesEEI            No (Z
       IfççYes,''state thename and location ofthe courq the docketorcasenum ber,thetype ofproceeding,and the
       issuesraised.                          y jt
                                              -  q




        Give the name and address,ifknown,ofeach attorney who represented you in thefollow ing stagesofthe
       judgmentyouarechallenging:
       (a) Atthepreliminaryhearing: u ygvp w...
                                              #. p.,
                                                  ..Jv gypsza/.p.
                                                                $/.z.os/zv..
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        (b) Atthearraignmentandplea:         u yggtg
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        (C) Atthetrial: Lpt.,j
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        (d) Atsentencing: tst
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        (e) Onappeal:tzju ? ggjyerane..szz,. racwva..,-zlaau/ww-w wzeapex r.v< .tw . .
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        (9 ln any post-convictionproceeding:         s./w ..     ..-.........-...................




  16. W ereyou sentenced on morethan one courtofan indictm ent,oron m orethan one indictment,in the sam e coul
                                                                                                             4
           andatthesametime?           YesZ               No L
           Doyouhaveanyfuturesentencetoserveafteryoucompletethesentenceforthejudgmentthatyouare
           challenging?       YesEZ        No I Z
           (a) lfso,givenameand location ofcourtthatimposedtheothersentenceyouwillserveinthefuture:




                                                                                                        Page 1lof'14
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Ao 243(Rev.09/17)
       (b)Oivethedatetheothersentencewasimposed:                  g//a
        (c)Givethelengthoftheothersentence:                       njg                                  .....-.... .
        (d)Haveyoufiled,ordoyouplantoGle,anymotion,petition,orapplicationthatchallengesthejudgmentor
        sentencetobeserved inthefuture?           Yes (X          No (Z
  18. TIMELINESSOFMOTION:lfyourjudgmentofconvictionbecamefinaloveroneyearago,youmustexplain
      whytheone-yearstatuteoflimitationsascontainedin28U.S.
                                                          C .j2255doesnotbaryourmotion.?

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       *TheAntiterrorism andEffectiveDeathPenalty Actof1996 (LGAEDPA'')ascontainedin28U.S.C.j2255,
       paragraph 6,providesin partthat:
          A one-yearperiod oflimitation shallapply to am otion underthissection. The lim itation period shallrun
          from the latestof-
              (1) thedateonwhichthejudgmentofconvictionbecamefinal;
              (2) thedateonwhichtheimpedimenttomakingamotioncreatedby govel-nmentalaction in violationof
              the Constitution orlawsofthe United Statesisremoved,iftl
                                                                     ne movantwasprevented fl-
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               am otion by such governm entalaction'
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                                                                                                              Page 12of-14
           Case 1:20-cv-24937-AMC Document 1 Entered on FLSD Docket 12/02/2020 Page 12 of 31
AO 243(Rev.09/17)
              (3) thedateonwhichtherightassertedwasinitially recognizedbytheSupremeCourt,ifthatrighthas
              been newly recognized by the Suprem eCou14 and maderetroactively applicable to caseson collateral
              review;or
              (4) thedateonwhichthefactssupportingtheclaim orclaimspresentedcould havebeendiscovered
              through the exercise ofdue diligence.




 Therefore,movantasksthatthe Courtgrantthefollowing relief:         &--.#wax/ . hn4u
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                                                                                        p //,-.----.-
                                                                    SignatureofAttolmey(ifany)



 Ideclare(orcertify,verify,orstate)underpenaltyofperjufythattheforegoingistrueandcorrectandthatthisMotion
 under28U.S.C.j2255wasplacedintheprisonmailingsystemon                       // kk          4.9
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  lfthe person signing isnotmovant,state relationship to m ovantand explain why m ovantisnotsigning this motion.




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       Case 1:20-cv-24937-AMC Document 1 Entered on FLSD Docket 12/02/2020 Page 13 of 31
AO 243 (Rev.09/17)




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